
34 N.Y.2d 579 (1974)
In the Matter of Joseph F. Hammerl, Respondent,
v.
Alfred C. Maevis, as Commissioner of the Department of Public Works, Appellant.
Court of Appeals of the State of New York.
Argued February 13, 1974.
Decided March 20, 1974.
Norman Redlich, Corporation Counsel (Jesse J. Fine and Stanley Buchsbaum of counsel), for appellant.
Julius W. Cohn for respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, WACHTLER and STEVENS. Judges JONES and RABIN dissent and vote to reverse and reinstate the determination of the Commissioner on the dissenting opinion by Mr. Justice LOUIS J. CAPOZZOLI at the Appellate Division.
Order affirmed, with costs to petitioner-respondent, on the Per Curiam opinion at the Appellate Division.
